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                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                          : CIVIL ACTION NO. 11-400
BEVERLY HARDY
                                                          :
                      vs.
                                                          :
NCO FINANCIAL SYSTEMS

       ORDER REFERRING CASE TO ARBITRATION AND APPOINTING ARBITRATORS


                      AND NOW, this           day of             , 2011, it is hereby

                      ORDERED, pursuant to Local Civil Rule 53.2, Section 4(a), that the above civil action is
herewith referred to arbitration and

                      Chairperson             Peter J. Hoffman, Esq.
                      Arbitrator              Paul Alexander Lapinski, Esq.
                      Arbitrator              Christopher J. Evarts, Esq.

having been selected at random by the arbitration clerk from among those certified as arbitrators, shall hear this
case at 9:30 am, on Wednesday August 24, 2011. PLEASE NOTE THAT THIS ARBITRATION HEARING
WILL BE HELD IN THE JAMES A. BYRNE U.S. COURTHOUSE, 601 MARKET ST.,
PHILADELPHIA, PA 19106. REPORT TO ROOM 2609 FOR YOUR ROOM ASSIGNMENT, pursuant
to a notice which shall this day be mailed by the arbitration clerk to all counsel of record and the arbitrators, the
arbitrators being authorized to change the time and date of the arbitration hearing provided the hearing is
commenced within 30 days of the hearing date set forth in this order (continuances beyond this 30 day period
must be approved by the court) and the clerk of court is notified of the change; and it is

                       FURTHER ORDERED, that all documentary evidence shall be marked in advance and
exchanged, except for impeaching documents; and that the above designated chairman shall file with the clerk
of court the arbitration award after the hearing is concluded.

                      The failure of counsel to promptly advise the arbitrators and the Arbitration Section of the
Clerk's Office of the settlement or other final disposition of this case may result in appropriate discipline by the
Court pursuant to Local Civil Rule 83.6.1.

                                                          BY THE COURT



                                                          S/LYNNE A. SITARSKI
                                                          HONORABLE LYNNE A. SITARSKI

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